20-12266-scc           Doc 4-7         Filed 09/22/20 Entered 09/22/20 21:26:03      Exhibit G   Pg
                                                     1 of 1



                                                 EXHIBIT G

                                      HERALD HOTEL ASSOCIATES, L.P.

                           DEBTOR’S EXISTING SENIOR MANAGEMENT

             Name/Position                         Summary of Responsibilities and Experience
       Brad Thurman/ Vice President              Day to day management of the company, management
                                                             of cash flows, budgeting, etc.
            Joseph Delgado/CFO                      All financial aspects of the Hotel’s operations.




{Client/003674/11/02172757.DOCX;2 }
